






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-04-00404-CR


NO. 03-04-00405-CR






Donzell Monte Wilford, Appellant



v.



The State of Texas, Appellee







FROM THE DISTRICT COURT OF BELL COUNTY, 27TH &amp; 264TH JUDICIAL DISTRICTS


NOS. 51213 &amp; 55475, HONORABLE MARTHA J. TRUDO, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N



In October 2001, appellant Donzell Monte Wilford was placed on deferred
adjudication supervision after he pleaded guilty to burglary of a habitation in cause number 51213. 
See Tex. Pen. Code Ann. § 30.02 (West 2003).  In June 2004, appellant pleaded true to the violations
alleged in the State's motion to adjudicate.  He was adjudged guilty and sentenced to twelve years
in prison.  At the same proceeding, appellant pleaded guilty to evading arrest with a motor vehicle
in cause number 55475.  See id. § 38.04.  He was adjudged guilty and sentenced to two years in
prison.

Appellant's court-appointed attorney filed briefs concluding that these appeals are
frivolous and without merit.  The briefs meet the requirements of Anders v. California, 386 U.S. 738
(1967), by presenting a professional evaluation of the record demonstrating why there are no
arguable grounds to be advanced.  See also Penson v. Ohio, 488 U.S. 75 (1988); High v. State, 573
S.W.2d 807 (Tex. Crim. App. 1978); Currie v. State, 516 S.W.2d 684 (Tex. Crim. App. 1974);
Jackson v. State, 485 S.W.2d 553 (Tex. Crim. App. 1972); Gainous v. State, 436 S.W.2d 137 (Tex.
Crim. App. 1969).  Copies of counsel's briefs were delivered to appellant, and he was advised of his
right to examine the appellate records and to file a pro se brief.  No pro se brief has been filed.

We have reviewed the records and counsel's briefs and agree that the appeals are
frivolous and without merit.  We find nothing in the records that might arguably support the appeals. 
Counsel's motions to withdraw are granted.

The judgments of conviction are affirmed.



				__________________________________________

				David Puryear, Justice

Before Chief Justice Law, Justices Kidd and Puryear

Affirmed

Filed:   December 16, 2004

Do Not Publish


